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Case 1:04-cv-01126-.]DT-STA Document 52 Filed 08/11/05 Page 1 ofqz Page|§
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IN THE UNITED STATES DISTRICT COURT

 

FoR THE WESTERN DISTRICT oF TENNESSEE `\~0.@
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ifr/h /ur\ a¢ 07
MICHAEL G. RoBleoN and ) /<ijzg,w
th .,
FREDERICK J. IvoRY, § dow
Plaintiffs, )
)
v. ) NO. 04-]126 T/An
)
WILLIAM F. HARKNESS, et al., )
)
Defendants. )

 

ORDER GRANTING MOTION TO COMPEL

 

Before the Court is Defendant William F. Harkness’ (“Defendant”) Motion to Cornpel
Discovery filed on July l3, 2005. On July 27, 2005, PlaintiffMichael G. Robinson filed a Notice
of Compliance with the Court stating that he has served responses to Defendant’s discovery
requests There is no record, however, of Plaintiff Frederick J. Ivory responding to the discovery
requests, and Mr. Ivory did not respond to the instant Motion.

Therefore, for good cause shown, the Motion to Cornpel is GRANTED. Mr. Ivory shall
provide complete responses to Defendant’s discovery requests Within ll days of entry of this
Order. Mr. Ivory is vvarned that the failure to comply With an Order of the Court can be grounds
for the imposition of sanctions

IT lS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: __/,{{/0(£¢,4][` /OI. 200J/

This document entered on the docket §he§ in compliance l
with Rule 58 and,'or_79 (a) FRCP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 1:04-CV-01126 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

